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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       Case No. 22-cr-242 (TSC)
                                              :
CHRISTINE PRIOLA,                             :
                                              :
                       Defendant.             :


           GOVERNMENT’S NOTICE OF FILING OF EXHIBITS PURSUANT
            TO LOCAL CRIMINAL RULE 49 AND STANDING ORDER 21-28

       The United States hereby gives notice, pursuant to Local Criminal Rule 49 and Standing

Order 21-28, of the following exhibits provided to the Court and defense counsel and to be used

by the government in the sentencing in this matter. The exhibits are videos and clips of videos

filmed by other rioters who participated in the breach of the Capitol on January 6, 2021. The

government obtained these exhibits through the course of its large investigation into the breach.

The United States does not object to the release of these exhibits to the public. The exhibits are as

follows:

       1. Government Exhibit 1 is a video approximately 26 seconds in length that shows the

            crowd behind the barricades on the east side of the Capitol. People in the crowd can be

            heard chanting, “Stop the steal.” Priola’s sign can be seen in the crowd.

       2. Government Exhibit 2 is a video approximately 1 minute and 23 seconds in length that

            shows the rioters outside the East Rotunda (Columbus) doors, including some rioters

            reacting to pepper gas. Priola and her sign can be seen while she is standing about 15-

            20 feet from the entrance. People in the crowd can be heard chanting, “USA, USA.” 1


       1
          The government’s sentencing memorandum incorrectly stated that the crowd could be
heard chanting “Stop the steal” and “Who’s our President? Trump!” during this video. ECF No.
56 at 10.
                                                  1
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       3. Government Exhibit 3 is a video approximately 3 minutes in length that shows rioters

            outside the East Rotunda doors attempting to enter the Capitol building. Priola’s sign

            can be seen in the crowd outside. The video also shows the doors being forced open

            from the inside and Priola (now inside the building) talking to another rioter on camera

            and walking down the corridor. People in the crowd can be heard chanting, “Who’s our

            President? Trump!”; yelling, “Tear it down”; and later chanting, “Defend your

            Constitution. Defend your liberty.”

       4. Government Exhibit 4 is a video approximately 26 seconds in length that shows the

            breach of the East Rotunda doors. Priola’s sign can be seen outside the building through

            the open doors.

       5. Government Exhibit 5 is a video approximately 2 minutes and 30 seconds in length that

            shows the rioters breaching the East Rotunda doors. Priola can be seen with her sign

            soon after she enters the building.

       6. Government Exhibit 7 2 is a video approximately 1 minutes and 28 seconds in length

            that shows the rioters, including Priola, walking down the east corridor inside the

            Capitol Building. It also shows Priola holding her sign up to one of the windows and

            tapping on the glass to get the attentions of rioters outside. Rioters can be heard

            chanting, “Defend your Constitution. Defend your liberty.” and “Who’s house? Our

            house.”




       2
         The government inadvertently skipped No. 6 when naming the exhibits in the
sentencing memorandum.
                                                  2
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7. Government Exhibit 8 is a video approximately 14 seconds in length that shows rioters,

   including Priola, on the Senate Chamber floor. Priola can be seen and heard talking on

   her cell phone.

                                     Respectfully submitted,


                                     MATTHEW M. GRAVES
                                     UNITED STATES ATTORNEY
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                             By:      /s/Jolie F. Zimmerman
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